                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 UNITED STATES,                      )
                                     )
       Plaintiff,                    )
                                     )
       v.                            )     Case No. 1:18-cv-05774-AT
                                     )
 ECOVEST CAPITAL, INC.,              )
 ALAN N. SOLON,                      )
 ROBERT M. MCCULLOUGH,               )
 RALPH R. TEAL, JR., and             )
 CLAUD CLARK III,                    )
                                     )
       Defendants.                   )

   FINAL JUDGMENT AND PERMANENT CONSENT INJUNCTION
 AGAINST DEFENDANTS ECOVEST CAPITAL, INC., ALAN N. SOLON,
      ROBERT M. MCCULLOUGH, AND RALPH R. TEAL, JR.

      Plaintiff United States and Defendants EcoVest Capital Inc., Alan N. Solon,

Robert M. McCullough, and Ralph R. Teal, Jr. (collectively “the EcoVest Parties”)

have filed a joint motion for entry of final judgment that resolves all the United

States’ claims against the EcoVest Parties in this case. The Court grants that

motion and enters final judgment as set forth below.

      A.     This Court has personal jurisdiction over the EcoVest Parties. This

Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1340

and 1345 and 26 U.S.C. §§ 7402, 7407, and 7408.
      B.     Without admitting any of the allegations in the amended complaint,

the EcoVest Parties have consented to the entry of this injunction.

      C.     Pursuant to 26 U.S.C. §§ 7402 and 7408, the EcoVest Parties are

permanently enjoined from directly or indirectly:

             1.    organizing, promoting, or selling (or assisting in the

             organization, promotion, or sale of) any plan or arrangement that

             involves a deduction for a qualified conservation contribution under

             26 U.S.C. § 170(h);

             2.    participating (directly or indirectly) in the sale of any

             conservation easement or the sale of any other plan or arrangement

             that involves a deduction for a qualified conservation contribution

             under 26 U.S.C. § 170(h);

             3.    making or furnishing (or causing another to make or furnish) a

             statement about the allowance of any federal tax benefit as a result of

             participating in a conservation easement or any other plan or

             arrangement that involves a deduction for a qualified conservation

             contribution under 26 U.S.C. § 170(h), which they know or have

             reason to know is false or fraudulent as to a material matter; and




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             4.    facilitating for compensation any donation that is intended to

             qualify as a qualified conservation contribution under 26 U.S.C.

             § 170(h).

      D.     Pursuant to 26 U.S.C. § 7402(a), the EcoVest Parties shall, by

February 28th each year for each of the next 3 years, sign a declaration under

penalty of perjury affirming that they have not engaged in any of the conduct

identified above in Paragraph C during the prior calendar year. The EcoVest

Parties shall send that declaration to the following two recipients at the following

addresses (unless notified of new addresses):

             Internal Revenue Service
             Lead Development Center Stop MS5040
             24000 Avila Road
             Laguna Niguel, CA 92677

             Department of Justice, Tax Division
             Chief - Civil Trial Section, Central Region
             P.O. Box 7238
             Ben Franklin Station
             Washington, D.C. 20044

      E.     Pursuant to 26 U.S.C. § 7402(a), the EcoVest Parties shall, no later

than 30 days from the date the Final Judgment of Permanent Consent Injunction is

entered in this case, contact by mail utilizing a last known physical address (or by

e-mail, if an e-mail address is known) all investors who purchased an interest in

one of the following partnerships: Santa Bahia Holdings, LLC, River Trace Resort

Holdings, LLC, Greenway Landing Holdings, LLC, Birch Equestrian Holdings,


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LLC, Brunswick Highlands Holdings, LLC, Wilderness Lake Properties Holdings,

LLC, and provide such investors with a copy of the Final Judgment of Permanent

Consent Injunction. The EcoVest Parties shall also provide to counsel for the

United States, within 30 days of the Court’s judgment, a list of these investors.

Except for the Final Judgment of Permanent Consent Injunction, no additional

materials may be included in the notification to the investors unless approved by

counsel for the United States or the Court.

      F.     Pursuant to 26 U.S.C. § 7402(a), the EcoVest Parties shall, within 30

days of entry of the Final Judgment of Permanent Consent Injunction in this case,

contact by mail utilizing a last known physical address (or by e-mail, if an e-mail

address is known) all employees, directors, and officers since January 1, 2016, of

any entities owned or controlled by any of the EcoVest Parties who organized,

promoted, facilitated or were involved with conservation easements, and provide

such persons with a copy of the Final Judgment of Permanent Consent Injunction.

The EcoVest Parties shall also provide to counsel for the United States, within 30

days of the Court’s judgment, a list of these persons. Except for the Final

Judgment of Permanent Consent Injunction, no additional materials may be

included in the notification to the employees, directors, and officers unless

approved by counsel for the United States or the Court.




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      G.     Pursuant to 26 U.S.C. § 7402(a), the EcoVest Parties shall, within 14

days of entry of the Final Judgment of Permanent Consent Injunction in this case,

prominently display a copy of the Final Judgment of Permanent Consent Injunction

on the front page and every subpage of all websites any of the EcoVest Parties

controls or maintains that advertise or market conservation easements.

      H.     Pursuant to 26 U.S.C. § 7402(a), the EcoVest Parties shall, within 90

days of entry of the Final Judgment of Permanent Consent Injunction in this case,

file with the Court a certification signed under penalty of perjury that they have

complied with paragraphs E, F, and G above.

      I.     The EcoVest Parties shall not intentionally make any statements,

written or oral, or cause or encourage others to make any statements, written or

oral, that misrepresent any of the terms of the Final Judgment of Permanent

Consent Injunction in this case or the parties’ written settlement agreement.

      J.     This Court shall retain jurisdiction over this action to allow the United

States full post-judgment civil discovery to monitor the EcoVest Parties’

compliance with the Final Judgment of Permanent Consent Injunction in this case.

      Ordered this ____ day of ___________, 2023.

                                       _______________________________
                                       AMY TOTENBERG
                                       UNITED STATES DISTRICT JUDGE




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Approved as to form and substance:
 s/ Richard G. Rose
___________________________             s/ Sean Akins
                                       ___________________________
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